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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
                                                                Case No.        1:20-CV-3127-SAB
  STATE OF WASHINGTON, et al.,
                                                                CIVIL MINUTES
                         Plaintiffs,                            DATE:           OCTOBER 30, 2020
        -vs-
                                                                LOCATION: TELEPHONIC

  DONALD J. TRUMP, in his official capacity as                  TELEPHONIC STATUS
  President of the United States of America; UNITED             CONFERENCE HEARING
  STATES OF AMERICA; LOUIS DEJOY, in his
  official capacity as Postmaster General; and
  UNITED STATES POSTAL SERVICE,

                         Defendants.




                                       Chief Judge Stanley A. Bastian
         Michelle Fox                                  01                          Marilynn McMartin
      Courtroom Deputy                            Law Clerk                          Court Reporter



                    Noah Purcell                                            Joseph Borson



                  Plaintiffs’ Counsel                                    Defendants’ Counsel

       [ ] Open Court                        [ ] Chambers                        [ X ] Telecon/Video

For the record the following counsel also appeared:
Kristen Beneski – State of Washington
Andrew Hughes – State of Washington
Cristina Sepe – State of Washington
Elizabeth Roberson-Young – State of Illinois

[ X ] ORDER FORTHCOMING

 CONVENED: 11:00 A.M.           ADJOURNED: 11:40 A.M.         TIME: 40 MIN.         CALENDARED        [ X ]
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Jeffrey Dunlap – State of Maryland
Angela Behrens – State of Minnesota
Nicholas Sydow – State of New Mexico
Carol Lewis – State of Virginia
Colin Roth – State of Wisconsin

Court has reviewed the status report filed last night. Court asks if defendants have filed anything.

J. Borson did file a memorandum about an hour ago.

N. Purcell presents argument and outlines reasons for the status conference today. Recognize that the ballot
delivery scores are much better. Some parts of the country are still unacceptable which is why we asked for this
hearing today. Asking Court to take action to help rectify situation. Michigan area is still below average. 1) 24
hours USPS shall file a list of steps to take to improve timely ballots. 2) perform a sweep of postal regions in
Detroit area and alike by tomorrow. 3) each night between now and election day that they do a sweep. 4) need
to provide daily data and be allowed to inspect postal facilities to ensure compliance and interview personnel.
Will provide a proposed order if necessary.

J. Borson presents argument. We are all in agreement of the same goal. Data – limitations of data is not used
operationally and would not generally release. Outlines what Judge Sullivan has been requiring in several
cases. Data is imperfect. Detroit percentages are outlined. Votes will be counted. Extraordinary measures
memorandum is outlined. Will be doing extra pickups and delivery trips this weekend. Not all of the ballots
will be going to processing plant in the post office because they are going directly to the board of election
office.

Court questions counsel. Does Judge Sullivan’s order cover the requests?

J. Borson continues argument. Does believe the Order covers parts of the request. 1) Sweep of facility – the
Postal Service does do daily sweeps already. Already in place. They are asking for a requirement that is already
in place. 4) Reports – specific data for specific plants should be the same people who are focused on managing
the election process. Data will be provided. It has been provided the last several days. Not in the position to
respond to allowing plaintiffs to go on the floor and question individuals. Not had a chance to confer with my
client on this issue.

Court summarizes argument. Government is taking the position that they are doing this already or it is being
monitored by other judges, particularly by Judge Sullivan.

N. Purcell responds. Wanting accountability that these are happening. If we find out next Wednesday that it
was not done, it would be too late. Asking for the Court to enter an order to require the Postal Service to certify
that is has been done.

Court outlines preliminary thoughts. Data is information but will not make findings based on that data. Parties
are close. There are other lawsuits that this Court is not involved in. This Court is involved in trying to help in
the process of getting the ballots to the voters and returned in a timely fashion.

Counsel should have a brief meeting to try and stipulate to what the states are asking for and what the
government is willing to do. Provide by early afternoon. Inclined to order that the sweeps be done as
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requested and report back by Monday. File a Stipulation or indicate you are unable to stipulate. Focusing on
sweep requests.

N. Purcell will work with counsel and will try to reach an agreement. Will appreciate a Court Order.

J. Borson understands the request by the Court.

Court indicates that the parties should contact the Court if they file something over the weekend and if a hearing
is necessary.
